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 8                        UNITED STATES DISTRICT COURT
 9                      CENTRAL DISTRICT OF CALIFORNIA
10
      Paul Martinka,                              Case No:
11

12                        Plaintiff,
                                                  COMPLAINT FOR:
13                 v.                               (1) Copyright Infringement
14                                                      under 17 U.S.C §501
      Lucy Liu,
15

16                       Defendant.               DEMAND FOR JURY TRIAL

17
           Plaintiff Paul Martinka (“Plaintiff”), by and through his undersigned counsel,
18
     for his Complaint against defendant Lucy Liu (“Defendant”) states and alleges as
19
     follows:
20
                                       INTRODUCTION
21
           1.     This action seeks to recover damages for copyright infringement under
22
     the Copyright Act, 17 U.S.C. §501.
23
           2.     Plaintiff created a photograph of an abortion protest in New York City
24
     (the “Photograph”) in which Plaintiff owns the rights and licenses for various uses
25
     including online and print publications.
26
           3.     Defendant owns and operates an Instagram account with the name
27

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 1
     “@lucyliu” at domain www.instagram.com (the “Account”).
 2
           4.     Defendant, without permission or authorization from Plaintiff, actively
 3
     copied and displayed the Photograph on the Account and engaged in this misconduct
 4
     knowingly and in violation of the United States copyright laws.
 5
                                           PARTIES
 6
           5.     Plaintiff Paul Martinka is an individual who is a citizen of the State of
 7
     New York and maintains a principal place of business in Kings County, New York.
 8
           6.     Upon information and belief, defendant Lucy Liu resides in Los
 9
     Angeles County, California at 2850 Ocean Park Boulevard City of Santa Monica,
10
     and is liable and responsible to Plaintiff based on the facts herein alleged.
11
                               JURISDICTION AND VENUE
12
           7.     This Court has subject matter jurisdiction over the federal copyright
13
     infringement claims pursuant to 28 U.S.C. §1338(a) and 28 U.S.C. §1331.
14
            8.    This Court has personal jurisdiction over Defendant because she
15
     maintains her principal place of business in California.
16
            9.    Venue is proper under 28 U.S.C. §1391(b)(2) because Defendant does
17
     business in this Judicial District and/or because a substantial part of the events or
18
     omissions giving rise to the claim occurred in this Judicial District.
19
                          FACTS COMMON TO ALL CLAIMS
20
     A.    Plaintiff's Copyright Ownership
21
           10.    Plaintiff is a professional photographer by trade who is the legal and
22
     rightful owner of certain photographs which Plaintiff commercially licenses.
23
           11.    Plaintiff has invested significant time and money in building Plaintiff's
24
     photograph portfolio.
25
           12.    Plaintiff has obtained active and valid copyright registrations from the
26
     United States Copyright Office (the “USCO”) which cover many of Plaintiff's
27
     photographs while many others are the subject of pending copyright applications.
28

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                                         PLAINTIFF'S COMPLAINT
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 1
            13.    Plaintiff's photographs are original, creative works in which Plaintiff
 2
     owns protectable copyright interests.
 3
            14.    On June 24, 2022, Plaintiff first published the Photograph. A copy of
 4
     the Photograph is attached hereto as Exhibit 1.
 5
            15.    In creating the Photograph, Plaintiff personally selected the subject
 6
     matter, timing, lighting, angle, perspective, depth, lens, and camera equipment used
 7
     to capture the image.
 8
            16.    On June 29, 2022, the Photograph was registered by the USCO under
 9
     Registration No. VA 2-307-190.
10
            17.    Plaintiff created the Photograph with the intention of it being used
11
     commercially and for the purpose of display and/or public distribution.
12
            18.    Plaintiff published the Photograph by commercially licensing it to the
13
     New York Post for the purpose of display and/or public distribution.
14
     B.     Defendant's Infringing Activity
15
            19.    Defendant is the operator of the Account and is responsible for its
16
     content.
17
            20.    The Account is the key part of and used to advance Defendant's
18
     commercial activities upon information and belief, Defendant profits from these
19
     activities.
20
            21.    On or about June 24, 2023, Defendant displayed the Photograph on the
21
     Account at URL: https://www.instagram.com/p/CfNaL69uyOs/. Copies of
22
     screengrabs of the Website as well as the Account including the Photograph are
23
     attached hereto collectively as Exhibit 2.
24
            22.    Without permission or authorization from Plaintiff, Defendant
25
     volitionally copied and displayed Plaintiff's copyright protected Photograph on the
26
     Account.
27
            23.    Plaintiff first observed and actually discovered the Infringements on
28

                                                 3
                                        PLAINTIFF'S COMPLAINT
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 1
     September 26, 2022.
 2
           24.    Upon information and belief, the Photograph was copied and displayed
 3
     by Defendant without license or permission, thereby infringing on Plaintiff's
 4
     copyrights in and to the Photograph (hereinafter the unauthorized use set forth above
 5
     are referred to collectively as the “Infringement”).
 6
           25.    The Infringement includes a URL (“Uniform Resource Locator”) for a
 7
     fixed tangible medium of expression that was sufficiently permanent or stable to
 8
     permit it to be communicated for a period of more than a transitory duration and
 9
     therefore constitutes a specific infringement.
10
           26.    The Infringement is exact copy of Plaintiff's original image that was
11
     directly copied and displayed by Defendant on the Account.
12
           27.    Upon information and belief, Defendant takes an active and pervasive
13
     role in the content posted on her Account, including, but not limited to copying,
14
     posting, selecting, commenting on, and/or displaying images including but not
15
     limited to Plaintiff's Photograph.
16
           28.    Upon information and belief, the Photograph was willfully and
17
     volitionally posted to the Account by Defendant.
18
           29.    Upon information and belief, Defendant was aware of facts or
19
     circumstances from which the determination regarding the Infringement was
20
     apparent. Defendant cannot claim that she was not aware of the infringing activities,
21
     including the specific Infringements which form the basis of this complaint, since
22
     such a claim would amount to only willful blindness to the Infringement on the part
23
     of Defendant.
24
           30.    Upon information and belief, Defendant engaged in the Infringement
25
     knowingly and in violation of applicable United States copyright laws.
26
           31.    Upon information and belief, Defendant has the legal right and ability
27
     to control and limit the infringing activities on the Account and exercised and/or had
28

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                                          PLAINTIFF'S COMPLAINT
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 1
     the right and ability to exercise such right.
 2
           32.     Upon information and belief, Defendant monitors the content on the
 3
     Account.
 4
           33.     Upon information and belief, Defendant has received a financial benefit
 5
     directly attributable to the Infringement.
 6
           34.     Upon information and belief, the Infringement increased the Account’s
 7
     followers and, in turn, caused Defendant to realize an increase in its business
 8
     revenues.
 9
           35.     Upon information and belief, a large number of people have viewed the
10
     unlawful copies of the Photograph on the Account.
11
           36.     Upon information and belief, Defendant at all times had the ability to
12
     stop the reproduction and display of Plaintiff's copyrighted material.
13
           37.     Defendant's use of the Photograph harmed the actual market for the
14
     Photograph.
15
           38.     Defendant's use of the Photograph, if widespread, would harm
16
     Plaintiff's potential market for the Photograph.
17
           39.     On March 3, 2023, Plaintiff, via counsel, served a letter seeking to
18
     address the complaints contained herein concerning Defendant's infringement of
19
     Plaintiff's rights-protected work.
20
           40.     Despite Plaintiff's efforts and willingness to address Defendant's
21
     infringing activity, Defendant failed to respond, and Plaintiff was forced to seek
22
     judicial intervention for Defendant's infringing activity.
23
           41.     Further, despite Plaintiff's notification to Defendant concerning her
24
     infringing activity, Defendant continues to infringe on Plaintiff's work thereby
25
     establishing the willful nature of its conduct.
26
           42.     As a result of Defendant's misconduct, Plaintiff has been substantially
27
     harmed.
28

                                                   5
                                          PLAINTIFF'S COMPLAINT
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 1
                                      FIRST COUNT
 2                 (Direct Copyright Infringement, 17 U.S.C. §501 et seq.)
 3         43.     Plaintiff repeats and incorporates by reference the allegations contained
 4   in the preceding paragraphs, as though set forth in full herein.
 5         44.     The Photograph is an original, creative work in which Plaintiff owns a
 6   valid copyright.
 7         45.     The Photograph is properly registered with the USCO and Plaintiff has
 8   complied with all statutory formalities under the Copyright Act and under
 9   regulations published by the USCO.
10         46.     Plaintiff has not granted Defendant a license or the right to use the
11   Photograph in any manner, nor has Plaintiff assigned any of its exclusive rights in
12   the copyright to Defendant.
13         47.     Without permission or authorization from Plaintiff and in willful
14   violation of Plaintiff's rights under 17 U.S.C. §106, Defendant improperly and
15   illegally copied, reproduced, distributed, adapted, and/or publicly displayed works
16   copyrighted by Plaintiff thereby violating one of Plaintiff's exclusive rights in its
17   copyrights.
18         48.     Defendant's reproduction of the Photograph and display of the
19   Photograph constitutes willful copyright infringement.
20         49.     Upon information and belief, Defendant willfully infringed upon
21   Plaintiff's copyrighted Photograph in violation of Title 17 of the U.S. Code, in that
22   Defendant used, published, communicated, posted, publicized, and otherwise held
23   out to the public for commercial benefit, Plaintiff's original and unique Photograph
24   without Plaintiff's consent or authority, by using it on the Account.
25         50.     As a result of Defendant's violations of Title 17 of the U.S. Code,
26   Plaintiff is entitled to an award of actual damages and disgorgement of all of
27   Defendant's profits attributable to the infringements as provided by 17 U.S.C. § 504
28

                                                  6
                                         PLAINTIFF'S COMPLAINT
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 1
     in an amount to be proven or, in the alternative, at Plaintiff's election, an award for
 2
     statutory damages against Defendant for each infringement pursuant to 17 U.S.C. §
 3
     504(c).
 4
           51.    As a result of the Defendant's violations of Title 17 of the U.S. Code,
 5
     the court in its discretion may allow the recovery of full costs as well as reasonable
 6
     attorney's fees and costs pursuant to 17 U.S.C. § 505 from Defendant.
 7
           52.    As a result of Defendant's violations of Title 17 of the U.S. Code,
 8
     Plaintiff is entitled to injunctive relief to prevent or restrain infringement of his
 9
     copyright pursuant to 17 U.S.C. § 502.
10
                                      JURY DEMAND
11
           53.    Plaintiff hereby demands a trial of this action by jury.
12
                                  PRAYER FOR RELIEF
13
           WHEREFORE, Plaintiff respectfully requests judgment as follows:
14
           That the Court enters a judgment finding that Defendant has infringed on
15
     Plaintiff's rights to the Photograph in violation of 17 U.S.C. §501 et seq. and
16
     therefore award damages and monetary relief as follows:
17
                  a.     finding that Defendant infringed Plaintiff's copyright interest in
18
                         and to the Photograph by copying and displaying it without a
19
                         license or consent;
20
                  b.     for an award of actual damages and disgorgement of all of
21
                         Defendant's profits attributable to the infringements as provided
22
                         by 17 U.S.C. § 504(b) in an amount to be proven or, in the
23
                         alternative, at Plaintiff's election, an award for statutory damages
24
                         against Defendant for each infringement pursuant to 17 U.S.C. §
25
                         504(c), whichever is larger;
26
                  c.     for an order pursuant to 17 U.S.C. § 502(a) enjoining Defendant
27
                         from any infringing use of any of Plaintiff's works;
28

                                                  7
                                         PLAINTIFF'S COMPLAINT
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 1
                d.    for costs of litigation and reasonable attorney's fees against
 2
                      Defendant pursuant to 17 U.S.C. § 505;
 3
                e.    for pre-judgment interest as permitted by law; and
 4
                f.    for any other relief the Court deems just and proper.
 5

 6   DATED: April 22, 2024

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                                     PLAINTIFF'S COMPLAINT
